                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

UNITED STATES OF AMERICA               :
                                       :
v.                                     :      Criminal Action No.
                                       :      3:21-CR-0004-TCB-RGV
ROBERT PURBECK                         :

        SUPPLEMENTAL MOTION TO SUPPRESS SEARCHES OF
     COMPUTERS, PHONES, HARD-DRIVES, AND STORAGE DEVICES

       In addition to the grounds he has previously raised in his motion to suppress

the searches and seizures arising from the government’s August 21, 2019 search of

his home [Doc. 26], as amended [Doc. 38], Defendant Robert Purbeck hereby

moves to suppress the results and fruits of the government’s searches and data

extractions of his computers, phones, hard-drives, and storage devices that

occurred more than 14 days after the August 19, 2019 search warrant for his home

was issued. In further support of this motion, Mr. Purbeck respectfully submits as

follows.

       Federal Rule of Criminal Procedure 41(e) requires that a search warrant be

executed “within a specified time no longer than 14 days.” Fed. R. Crim. P. 41(e).

As the Eleventh Circuit recently held in United States v. Vedrine, No. 20-13259,

2022 WL 17259152 (11th Cir. Nov. 29, 2022), when discussing the extraction of

data from a cellphone, “[l]aw enforcement complied with Rule 41(e) and
completed the data extraction within Rule 41(e)(2)(A)(i)’s 14-day timeline.” Id. at

*5. “Based on the plain language of the rule, we agree with our sister circuits that

once the data is seized and extracted by law enforcement, the warrant is

considered executed for purposes of Rule 41, and under Rule 41(e)(2)(B), law

enforcement may analyze that data at a later date.” Vedrine, supra, at *6 (emphasis

added). Under Vedrine, the government must both seize and extract the contents of

any electronic devices it seizes within 14 days of the issuance of the warrant,

although it may wait and forensically analyze the extracted data at a later time. Id.

      Mr. Purbeck’s review of the discovery shows that, in almost all instances,

law enforcement seized the physical computers, hard-drives, phones, and external

storage devices on August 21, 2019, but did not extract any data from these devices

within 14 days of the date the court issued the warrant, much less by August 30,

2019, the date that the judge issuing the warrant required for the warrant’s

execution. (See Exhibit F to Purbeck’s December 13, 2021 Notice of Filing). The

one exception to this appears to be the government’s scanning of a Seagate Tower.

However, even that data extraction apparently had to be done over because the

government apparently deleted its initial extraction, thereby requiring another data

extraction, which occurred more than 14 days following the issuance of the warrant

and would therefore be illegal under Vedrine.




                                          2
      Specifically, it appears from the discovery produced by the government that,

between August 27 and August 28, 2019, law enforcement extracted the data from

the Seagate Tower (Gov’t Evidence Item 1B198) that it seized on August 21, 2019

and placed that extracted data on hard drives labeled DEAT19, DEAT 21, and

DEAT22. (See Exh. CC, attached hereto). So, that would be within the time

required by the search warrant.

      However, then it appears that law enforcement wiped that extracted

information clean on or about September 17-18, 2019. (See Exh. DD, attached

hereto, which are the first three pages of a 61-page document produced in

discovery and refer specifically to DEAT19). Mr. Purbeck’s interpretation of the

wiping of the data extraction is corroborated by an FBI 302 created by FBI

employee James Paul DeGrood on February 18, 2020, which reads in relevant part,

as follows:

      A previous attempt was made to export the VMs on DEAT21 to DEAT22 on
      10/3/19. Later it was seen that the disk appeared to be still in a wiped state.
      CS DeGrood exported the VMs found on DEAT21 to DEAT22 on
      02/13/2020.

(See Exhibit EE, attached hereto).

      As Mr. Purbeck understands these documents, although law enforcement

imaged the Seagate Tower initially on August 27-28, 2019 (Exh. CC), it destroyed

those images on September 17-18, 2019. (Exh. DD). It discovered that it had

destroyed those images on or about October 3, 2019 and did not reimage the
                                          3
Seagate Tower until February 13, 2020. (Exh. EE). If Mr. Purbeck is correct

regarding the timing of the government’s imaging of the Seagate Tower, then the

government extracted the data from the Seagate Tower well after the time

authorized by the original search warrant and without getting a new warrant. The

untimely extraction of data from the Seagate Tower violates Federal Rule of

Criminal Procedure 41(e), the Fourth Amendment, and the requirements set forth

by the Eleventh Circuit in Vedrine, supra.

      Similarly, the government has extracted data from other devices belonging to

Mr. Purbeck well after the 14 days required by Rule 41(e), not to mention after the

August 30, 2019 deadline set by the judge who issued the search warrant for Mr.

Purbeck’s residence. For example, on October 3, 2019, the government extracted

the data from an “HP Laptop Elite Book” (Gov’t Evidence Item 1B181) that they

seized from Mr. Purbeck’s residence on August 21, 2019. (See Exhibit FF, attached

hereto). Also, on October 3, 2019, the government imaged the data from a “HP

Z240 Tower S/N ZVA6060RF1” (Gov’t Evidence Item 1B184) that they seized on

August 21, 2019. (See Exhibit GG, attached hereto). Then, they imaged the data

from that same HP Tower again on August 12, 2021. (See Exhibit HH). It is

unclear whether they made the second image because they had destroyed the

earlier image (ala the Seagate Tower), but regardless both extraction dates were




                                         4
past the August 30, 2019 date authorized by the search warrant and also beyond the

14 days allowed by Rule 41(e). (See Exhs. GG and HH).

      Additionally, on June 25, 2021, the government imaged a “Mac Book Pro

S/N C02JKT67D853” (Gov’t Evidence Item 1B185) that it seized from Mr.

Purbeck’s residence on August 21, 2019, almost two years earlier. (See Exhibit II,

attached hereto). And on June 28, 2021 (almost two years after seizure), the

government sought assistance from an FBI computer scientist to image a whole

series of computers, hard-drives, and external storage devices. (See Exhibit JJ,

attached hereto). All of these searches were well outside of the legal time for

extracting the data from these devices using the authority granted by the August

19, 2021 search warrant issued by the federal court in Idaho. Mr. Purbeck is not

aware of any new search warrant that would authorize these searches. Accordingly,

under the authority of Vedrine, the government’s belated imaging and data

extractions from Mr. Purbeck’s computers and storage devices violates both

Federal Rule of Criminal Procedure 41 and the Fourth Amendment.

      The Eleventh Circuit’s recent decision in Vedrine is of particular

significance here because it conflicts with this Court’s older decision in United

States v. Dixon, No.: 3:20-cr-3-TCB, 2021WL1976679 (N.D. Ga. May 18, 2021).

In Dixon, this Court held that the government’s two-year delay in searching the

defendant’s I-phone was not unreasonable given that it was password protected and


                                          5
the defendant had not provided the government with the password. Dixon, supra, at

*2. In contrast to Dixon, Mr. Purbeck had provided his passwords to the

government. Even more importantly, however, subsequent to Dixon, the Eleventh

Circuit decided Vedrine, in which the Circuit Court stated, “[b]ased on the plain

language of the rule, we agree with our sister circuits that once the data is seized

and extracted by law enforcement, the warrant is considered executed for

purposes of Rule 41, and under Rule 41(e)(2)(B), law enforcement may analyze

that data at a later date. Vedrine, supra, at *6 (emphasis added).

      As best as Mr. Purbeck can tell, the government did not seize and extract the

contents of any of the devices it seized from Mr. Purbeck on August 21, 2019

within the 14 days of the date the search warrant was issued (September 2, 2019),

much less by August 30, 2019 – the time set by the judge who issued the search

warrant for Mr. Purbeck’s home. For the one device that they did extract data from

prior to August 30, 2019 (the Seagate Tower), it appears they destroyed that

extracted data and re-extracted the data from the Seagate Tower on a date more

than 14 days after the search warrant was issued and without obtaining a new

warrant authorizing the re-extraction, thereby rendering the later extraction illegal.

      Mr. Purbeck’s position is that, under Vedrine, the government’s extraction of

data more than 14 days following the issuance of the search warrant is

unreasonable, violates Rule 41, violates the terms of the search warrant, and


                                           6
violates the Fourth Amendment. Accordingly, the Court should suppress all data

extractions that occurred after September 2, 2019, which was the fourteenth day

following the search warrant being issued on August 19, 2019.

      Additionally, not only has the government not extracted the data from Mr.

Purbeck’s various devices within 14 days of the date the search warrant was issued,

as it was required to do by Rule 41 and Vedrine, the government also appears, for

the most part, not to have timely analyzed or examined the data that it did extract.

Although both Rule 41 and Vedrine allow law enforcement to examine/forensically

analyze the extracted data at a later time, that later examination must still occur

within a reasonable period of time. Not forensically analyzing the extracted data

within a reasonable time violates the Fourth Amendment and provides yet another

basis to suppress the searches of both phones and the information gleaned

therefrom. See Vedrine, supra, at *5-6 (the Eleventh Circuit specifically noting

that, assuming arguendo that any seized data must be reviewed in a reasonable

period of time, the “review of data within a matter of weeks” is “clearly different”

from a 15-month delay that the district court found unreasonable in United States v.

Metter, 860 F. Supp. 2d 205, 212 (E.D.N.Y. 2012)). Here, although Mr. Purbeck

has been unable to determine exactly how much time has gone by before the

government forensically analyzed the data it extracted, with the exception of the

data the government forensically examined in March, 2020, it appears that the


                                           7
delay is more than a matter of weeks (see Vedrine, supra, at *5-6, finding delay not

unreasonable), and it also appears to be closer to 15 months or more (see Metter,

860 F. Supp. 2d at 212-216, finding delay unreasonable). Accordingly, Mr. Purbeck

moves to suppress the forensic examinations of any data extracted from his devices

because (in addition to the delay in extracting the data), the delay in

examining/analyzing that data was unconstitutionally unreasonable and violated

the Fourth Amendment. At a minimum, an evidentiary hearing is required to

determine whether the government has analyzed the data that it untimely extracted

within a reasonable time and, if not, why not.

      Mr. Purbeck has sought the return of his property, including but not limited

to his computers, hard-drives, phones, and storage devices. No later than January

31, 2021, Mr. Purbeck had filed a motion pursuant to Federal Rule of Criminal

Procedure 41 seeking the return of his property. (See Doc. 2 in 1:21-CV-0047-

BLW (District of Idaho)). Also, to the extent the government may contend, as it

apparently has in response to his civil filings, that his interest in his property has

been diminished by virtue of his property being listed as subject to forfeiture in the

indictment in this case, Mr. Purbeck respectfully submits that the government

cannot know whether something is subject to forfeiture when it has not even

searched it before claiming it is forfeitable. Accordingly, his interest in his property

is undiminished.


                                            8
      As the Eleventh Circuit noted long before Vedrine, “[c]omputers are relied

upon heavily for personal and business use. Individuals may store personal letters,

e-mails, financial information, passwords, family photos, and countless other items

of a personal nature in electronic form on their computer hard drives. Thus, the

detention of the hard drive for over three weeks before a warrant was sought

constitutes a significant interference with [the defendant’s] possessory interest.”

United States v. Mitchell, 565 F.3d 1347, 1350–51 (11th Cir. 2009). Here, the

government failed to extract the contents of many of Mr. Purbeck’s computers and

other devices (storage and otherwise) in a timely fashion, and they failed to

examine the contents of these devices in a timely fashion.

      Mr. Purbeck requests that the Court hold an evidentiary hearing on this

motion and thereafter grant this motion and suppress all evidence arising from

these searches.



      WHEREFORE, Mr. Purbeck respectfully requests that the Court (1) hold an

evidentiary hearing on all matters raised in his motion to suppress and any others

that may be developed at the hearing, (2) establish a briefing schedule for all parties

to address the issues raised in this motion to suppress and developed at the

evidentiary hearing, and (3) thereafter grant this motion and suppress and exclude




                                           9
from evidence any and all information, material, items, or evidence gathered from

the illegal detentions, searches, seizures and interrogations detailed in this motion.

      Respectfully submitted, this 26th day of July, 2023.



                    /s/ Andrew C. Hall________________
                    Andrew C. Hall
                    Georgia Bar No. 318025
                    Hall Hirsh Hughes, LLC
                    150 E. Ponce de Leon Ave., Suite 450
                    Decatur, Georgia 30030
                    404/638-5880 (tel.)
                    404/638-5879 (fax)
                    andrew@h3-law.com
                    Counsel for Defendant Robert Purbeck




                                          10
         CERTIFICATE OF COMPLIANCE WITH TYPE AND FONT
                       AND CERTIFICATE OF SERVICE


       I hereby certify that this motion has been prepared in Times New Roman
font (14 pt.) and consistent with the Local Rules of this Court.

      I further hereby certify that I have this date caused a true and correct copy of
  the foregoing SUPPLEMENTAL MOTION TO SUPPRESS SEARCHES OF
 COMPUTERS, PHONES, HARD-DRIVES, AND STORAGE DEVICES to be
       served by filing it with the Clerk of Court and emailing separately to:

      Assistant United States Attorney Michael Herskowitz and Alex Sistla


      This 26th day of July, 2023.


                                       /s/ Andrew C. Hall
                                       Andrew C. Hall




                                         11
